











Opinion issued December 11, 2008











In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-08-00952-CV
____________

IN RE CHARLES WATKINS, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINIONRelator, Charles Watkins, has filed a petition for a writ of mandamus
complaining of Judge Patricia Kerrigan’s


 November 10, 2008 order compelling
arbitration.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After due consideration, we deny the petition for writ of mandamus.
PER CURIAM
Panel consists of Justices Taft, Keyes, and Alcala.


